Case 2:19-cv-00474-JLB-NPM Document 58 Filed 06/15/20 Page 1 of 2 PageID 1232



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

ELBA NIEVES,

                  Plaintiff,

v.                                                          Case No.: 2:19-cv-474-FtM-38NPM

WALMART STORES EAST, LP,

                Defendant.
                                                 /

                                                ORDER1

        This matter comes before the Court on review of Plaintiff’s Response in Opposition

to Defendant’s Motion for Summary Judgment. (Doc. 57). The Court strikes the filing

because it does not comply with the Court’s procedure on motions for summary judgment.

As stated on the undersigned’s website and in the Case Management and Scheduling

Order (Doc. 31), each response to a motion for summary judgment must include a

specifically captioned section titled, “Response to Statement of Material Facts,” that

mirrors the moving party’s statement of material facts by admitting and/or denying each

of the moving party’s assertions in separate, matching numbered paragraphs. Because

Plaintiff’s Response does not follow this procedure, the Court will strike it and provide

Plaintiff with the opportunity to refile.

        Accordingly, it is now

        ORDERED:




1 Disclaimer: Documents hyperlinked to CM/ECF are subject to PACER fees. By using hyperlinks, the
Court does not endorse, recommend, approve, or guarantee any third parties or the services or products
they provide, nor does it have any agreements with them. The Court is also not responsible for a hyperlink’s
availability and functionality, and a failed hyperlink does not affect this Order.
Case 2:19-cv-00474-JLB-NPM Document 58 Filed 06/15/20 Page 2 of 2 PageID 1233



        Plaintiff’s Response in Opposition to Defendant’s Motion for Summary Judgment

(Doc. 57) is STRICKEN. Plaintiff may file an amended response to Defendant’s Motion

for Summary Judgment that complies with the Court’s procedures on or before June 22,

2020.

        DONE and ORDERED in Fort Myers, Florida this 15th day of June, 2020.




Copies: All Parties of Record




                                          2
